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                       18   CV t16s7 (ER) (OTW)

                       IINITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK



                       CHRISTA MCAULIFFE INTERMEDIATE SCHOOL
                       PTO, Inc., et al,

                                                                          Plaintiffs,

                                                  -against-

                       BILL De BLASIO, in his official capacity    as   Mayor   of
                       New York, et ano.,

                                                                        Defendants



                       DEFENDANTS' MEMORANDUM OF LAW IN
                       OPPOSITION TO PLAINTIFFS' MOTION FOR A
                       PRELIMINARY INJUNCTION


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                                         PRELIMINARY STATEMBNT

            Plaintiffs are a palent teacher organization of a New York City public middle school, two

Asian-American organizations, one parent                 of a child who took the high school entrance
examination which is the backdrop of this litigation in October 2078, and two individual parents

whose young children          will not be ready to take a high school           entrance examination for years.

Plaintiffs have sued pursuant to 42U.S.C. $ 1983, claiming that their rights under the Equal

Protection Clause of the Fourteenth Amendment are being violated. Defendants are                               Bill   de


Blasio, in his official capacity as Mayor of the City of New Yorkr and Richard A. Carranza, in

his official capacity as Chancellor of the New York City Department of Education ("DOE.").

            DOE operates eight "Spe cialized High Schools," which provide rigorous instruction to

academically gifted students. Admission to these schools is controlled by a State law, enacted in

1971, which mandates that a competitive achievement exam be the main criterion for admission,

but also providcs that disadvantaged students who score just below the cut-ott'score may enter

these schools through a Discovery Program. The original                    bill contained a cap of        14Yo   of the

seats at these schools reserved for the Discovery Program, but the                   final bill contains no cap on

the size of the Discovery Program.

            These schools have become far less diverse than                  in prcvious     decades,    in terms of

geography, race and ethnicity. The majority                 of middle schools in New York City                send no

students to the Specialized High Scliools while 50oh of the offers go to just 30 middle schools.

Very few students come from n-riddle schools in the Bronx. The percentage of African-American

and Latino students at the Specialized High Schools has declined to the extent that in two of


' The Mayor is not a proper party to this lawsuit. The City and the New York City Departrnent of Education are
        ind distinct legal entities. Perez v. Ci0) o/'Net4' York, 4l A.D.3d 318,379 (l'' Dep't 2007); l4/illiams v. Ciq,
separ.ate
qfNeyt,York,20l4U.S.Dist.LEXlS49837.*22-24,affd.602F.App'x28(2dCir.20l5).             Defendantshave
asse;tedthisdefenseintheiranswer. ItisunnecessarytobriefthisissuefullyatthisjuncturebecausetheChancellor
in his official capacity is a proper party.
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these schools, including Stuyvesant     High School, less than one percent of the enrolled students

are African-American. Over the years, DOE has implemented many programs, and even opened

additional Specialized High Schools, in part to address the lack of diversity. These efforts have

not been effective in increasing diversity. In the spring    of   2018, DOE considered other ways to

foster diversity, and decided to expand the Discovery Program to 20Yo of the seats in the

Specialized High Schools over         two years. In 2019-2020 the Program will expand                to

approximat ely   13o/o   of the seats. DOE also decided to revise the eligibility criteria for the

Discovery Program, which by State law must serve disadvantaged students,                 to include a
requirement that a student attend a school with a high Economic Need Index ("ENI"), which

measures the economic disadvantage       of its students. The threshold selected, an ENI of    60Yo or

greater, represents schools who have greater than average Economic Needs. Thus the expanded

Discovery Program would identify the most disadvantaged students, and provide a pathway to

their admission to the Specialized High Schools.

        Plaintiffs claim the revised criteria and the expansion of the Discovery Program violate

the Equal Protection Clause. They speculate that these efforts to promote diversity were actually

motivated by animus toward Asian-Americans, and are an attempt to reduce the number of

Asian-American students in the Specialized High Schools. Plaintifls challenge the expansion of

the Discovery Prograrn because it     will   reduce the number of seats for students admitted on the

basis of exam scores. This argument ignores the express authorization in the law for DOE to

establish and maintain       a robust Discovery Program to afford        disadvantaged students the

opportunity to enroll in these schools. PlaintifTs challenge the revised eligibility criteria lirniting

the Discovery Program to students fiom schools of greater need, because students from other




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schools that they cite, such as Christa McAuliff-e Intermediate School, are not captured by the

revised criteria.

        However, the students at Christa McAuliffe have the advantage of attending a school

with a culture that fosters achievement to such a degree that 268 of its eight graders received

offers in 2011   . By contrast, there are hundreds of public middle    schools whose students received

no offers. Because Christa McAuliffe and some other high-performing middle schools have

large numbers of Asian-American students, Plaintiffs speculate that the plan was motivated by

anti-Asian animus. Plaintiffs also point to statements by the Mayor and the Chancellor as indicia

of animus, whereas the cited statements in context demonstrate full support for equal opportunity

and diversity. Finally, the statistical model that was prepared for the decision makers predicts

that the plan    will   increase the percentage   of Black and Latino students in the Specialized High

Schools to a small degree, and      will   decrease the percentage of Asian-American and "IJnknown"

students (usually students of multi-racial backgrouttds), to a tnuch smaller degree, and decrease

the percentage      of White    students   to a slightly larger but still small degree. It is widely

recognized that diversity benefits         all students. Indeed, four Asian-American      organizations

publicly supported a complaint filed in 2012 with the Office of Civil Rights of the United States

Department of Education, which asserted that the lack of racial and other forms of diversity at

the Specialized High Schools was a violation of federal Title       VL   The statements of these groups

recognize the importance for all students of learning and growing in a diverse environment.

        Plaintiffs have moved for a prelirninary injunction seeking to enjoin Defendants' current

plan, which was announced last June and is now being implemented. Defendants oppose the

motion on the grounds that Plaintiffs lack standing, Plaintiffs have not shown they are entitled to




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the extraordinary remedy of a preliminary injunction, and Plaintiffs have no likelihood of success

on the merits.

                                         STATEMENT OF FACTS

        For a complete and accurate statement of the relevant facts, the Court is respectfully

referred to the Declaration of Joshua Wallack, dated Janu ary 77,20lg,the Declaration of Nadiya

Chadha, dated January      17,2|lg,and the Declaration of Thomas B. Roberts, dated        Januaty 77,

2079,   all   submitted   in   support   of Defendants' 0pposition to the motion for a preliminary

injunction.

                                               ARGUMENT

                                                 POINT    I
                          PLAINTIFFS LACK STANDING TO BRING
                          THIS ACTION

        To prosecute an action, thc Plaintiffs must have standing. As the Supreme Court recently

hcld

                 Federal courts have authority under the Constitution   Lo decide legal
                 questions      only in the course of resolving "Cases"              or
                 "Controversies." One of the essential elements      of a legal case or
                 controversy is that the plaintiff have standing to sue. Standing
                 requires more tltatt just a keetr interest in the issue." It requires
                 allegations-and, eventually, proof-that the plaintiff
                 "personalfly]" suffered a concrete and particularized injury in
                 connection with the conduct about which he complains.

Trump v. Hau,aii. 138 S.          9.2392.2416 (2018) (citations omitted). The         Suprenre Court

previousl-v held that:

                 the irreducible cor-rstitutional minimum of standing contains three
                 elements. First. the plaintiff must have suffered an "injury in fact"
                 -- an invasion of a legally protected interest which is (a) concrete
                 and particularized,... and (b) "actual or imminent, not'conjectural'
                 or 'hypothetical."' Second, there must be a causal connection
                 between the injury and the conduct complained of -- the injury has
                 to be "fairly trace[able] to the challenged action of the
                                                    -4-
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                defendant, and not... the result fofl the independent action of some
                third party not before the coutl." Third, it must be "likely," as
                opposed to merely "speculative," that the injury will be "redressed
                by a favorable decision."

Lujan v. Defenders of Witdtife,504 U.S. 555, 560-61 (1992) (citations omitted). Plaintiffs bear

the burden of establishing standing, and at the pleading stage they must do so by "clearly

allegfing] facts demonstrating each elemenL" Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016).

Here, none of the plaintiffs satisfy these requirements.

A.      The Organizational Plaintiffs Have not Alleged an Injury

        It is well settled in the Second Circuit that an organization lacks standing to sue under                42


U.S.C. $ 19S3 fbr the alleged injuries to its members. Nev, York State C'itizen's Coolition.fbr

Chilclren v. Velez, 629 Fed. App". 92. 93-95 (2d Cir.2015); League of'Women lioters of Nassau

Cnty. v. Nassau Cnty Bd. of' Strperttisor.s. 731 F.2d 155, 160 (2d Cir. 1984).                                Such

"associational" standing is not recognized in the context of $ 1983 actions.

        An   organi zatiotr, however. may havc standing               if     thcrc is an injury    in fact to the

organization itself. Centro De La C'onnmidad Hispana De Locust Valley v. Town of Oyster Bay,

868 F.3d 104, 109-1 11 (2d Cir.2017); Nnebe t,. Dcu.ts.644 F.3d 147,156-57 (2d Cir.                          20lI);

Loutell v. Lyft, lnc.,2018 U.S. Dist. LEXIS 202495 aI *15-20,2018 WL 6250661 (S.D.N.Y.

Nov.29,2018): Cn'. Fot'Food         St1/'ety t,.   Price.2018 U.S. Dist. LEXIS 155794 at * 10-14,2018

WL   4356730 (S.D.N.Y. Sept. 12-2018). An inlLrrv to an organization. however. must be real.

'"An organization's atrstract concent u itlr a sLrbject      1ha1 cor-rlcl   be alltcted bv an adjudication does

not substitute 1br the concrete injurl' rr-'quirccl by'r\rt.     lll."' ,\inton   t:. E. K1'. I4/eUure Right.s Org..

426 U.S. 26.40 (1976).

        Ilere. none ol-the organizational plaintil'f's allege lacts sulficienlto establish standing. At

paragraph 7 of the conrplaint. the McAulille P1'() assefts only that its nrembers u'il] be injLrred               if

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sonle   of their children are not admitted to a Specialized High School. The McAulilTe                        PTO

alleges no injur"y to itself-. As     it   may not assert the alleged injuries of its merrtbers,         it   lacks

standing. Velez, 629 Fed. Appx. at 93-95 (2d Cir. 2015).

        At paragraph 8 of the cornplaint. the Chinese American Citizens Alliance of Greater New

York ("CACAGNY") alleges that the children of several of its members may be injured and

makes the bald assertion     *   without alleging any facts        -   that   it   has had to devote significant

resources    to connteract the challenged policy. Under Velez, CACAGNY cannot                         assert the

alleged injuries to its mernbers, and its allegation of diversion of resources is insufficient to

establish standing. The only claimed injury to CACAGNY is that CACAGNY has advocated

against the challenged policy. See Declaration of Wai Wali Chin, para. 5 (Dkt. no. 13). This is

not a legally recognizable injury. This Court recently held that an organization for the disabled

that alleged it had diverted resources to advocate for its constituents lacked standing to challenge

the adequacy of the accommodations Lyft made for passengers with disabilities. The judge

explained:

                Plaintiff WDOMI states that it is injured because it must divert
                resources to advocate
                                       o'for its constituents who are harmed by
                Lyft's discriminatory policies and practices." ... This injury is not
                distinct from the matter before the Court. Rather, Plaintiff
                WDOMI's stated injury results from WDOMI's efforts to pursue
                this ver"y lawsuit.

Lov,e 11.2018 U.S. Dist,   LEXIS 202495        art *   15-16. The court dismissed WDOMI's claim holding

that its "conclusory" allegations of diversion of resources was insufficient to establish standing.

Id.at+19. CACAGNY'sallegedbasisfbrstandingise-clually'defective. Seeul.so-Ctr.ForFood

Sulbry v. Pric'e.2018 tJ.S. Dist. LEXIS 155794 ett 'F14. 2018             WL 4356730 (S.D.N.Y. Sept. 12.

2018) ("to allorv st:rncling based on these allegations erloue would mean tliat an1"entity that




                                                          6-
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spencls money or1 an issue   of particular interest to it would have standing, w'hich would in               tut't't

                                             orllere
colltravene the principle that an entity's             interest'in a problem' cannot sttpport standing.").

       In paragraph 9 of the complaint, the Asian American Coalition for Education ("AACE")

also makes the bare allegation that    it   "has had to clevote significant resources to opposing the

challenged   policy." The declaration of Raymond H. Wong filed in support of AACE                  does not

even reference or allude to a diversion of resources (Dkt. no. 14). The complaint's conclusory

allegation is insuf1icient for the same reasons that CACAGNY's allegation is defective.

B.      The Individual Plaintiffs Have not Alleged an Imminent               Injury

       None of the individual plaintiffs have alleged an imminent or actual injury. Paragraph 11

of the complaint alleges that Plaintiff Yi Fang Chen's son is currently a first grader, who cannot

expect to apply for admission to high school for seven years. Plaintiff Chi Wang states in her

declaration (dkt. no. 17) that she has two children, ages five and nine. The nine year old is in

fourth gracle and uannut expect to apply for admission to high school for four ycars. Any injury

they might suffer is not imminent or actual.

        Phillip Yan Hing Wong's daughter is an eighth grader who took the SHSAT test in

October20l8. Mr. Wong lacks standing, however,               because his daughter's score   onthe SHSAT

demonstrates that she    will not be affected by tlie Discovery Progratrt. Indeed,              evetr   if    her

SHSAT score had been just below the cut-off. her eligibility for the Discovery Program would

turn on her individual hardship factors because she attends I.S. 5 in Queens, a school with an

ENI greater than 0.60. Indeed, if Mr. Wong's daughter were otherwise qualified for the

Discovery Program and her test score was just below the cut-off, she would have benefited from

the challenged program. As Mr. Wong's daughter was not injured by the Discovery Program, he

lacks standing. Therefore, all the individual plaintiffs lack standing.



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                                                 POINT    II
                        PLAINTIFFS HAVE FAILED TO SATISFY
                        THE REQUIREMENTS FOR THE
                        EXTRAORDINARY AND DRASTIC REMEDY
                        OF' A PRIILIMINARY INJUN CTION

        A preliminary injunction is "an extraordinary and drastic remedy, one that should not be

granted unless the movant, by a clear showing, carries the burden of persuasion ." Moore                v.


Consol. Edison Co. of N.Y., lnc.,409 F.3d 506, 510 (2d Cir. 2005) (quotation marks and citation

omitted). A party seeking     a   preliminary injunction must ordinarily establish that (1) he is likely

to succeed on the merits, (2) he is likely to suffer irreparable harm in the absence of preliminary

relief, (3) the balance of equities tips in his favor, and (4) an injunction is in the public interest.

Winter v. NRDC, lnc.,555 U.S. 7, 20 (2008); accord ACLU v. Clapper, 804 F.3d 617,622 (2d

Cir.2015).

        While Plaintiffs claim that a lesser general standard     {.han L}rat   articulated by the Supreme

Court   in \l'inter is applicable (Plailtiffs'   Metttoratlduur iu Support of Motion for Preliminary

Iniunction ("P1. MOL") 9,2J-29), it is unnecessary to decide this issue, because the law is clear

that heightened standards are applicable in the circumstances present here.

                Where the moving party seeks to stay government action taken in
                tlie public interest pursuant to a statutory or regulatory scheme, the
                district colul should not apply the less rigorous ["serious
                questions"] standard and should not grant the injunction unless the
                moving party establishes, along witli irreparable injury, a
                likelihood that he will succeed on the merits of his claim. Able v.
                United stutes.44 F.3d 128, 131 (2d Cir. 1995) (first alteration in
                original) (quoting Plaza Health Lub.s., Inc. v. Perales,878 F.2d
                577, s80 (2d Cir. 1989)).
                Second, "[a] heightened 'substantial likelihood' standard may also
                be required wlien the requested injunction (l) would provide the
                plaintiff with 'all the relief that is sought' and (2) could not be
                undone by a judgrnent favorable to defetrdants on the medts at
                trial." Maslrovincenzo v. City rt'Nev' York.435 F.3d 78, 90 (2d


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               Cir. 2006) (quoting Tont Doherty Assocs., Inc. v. Saban Entm't,
               Inc., 60 F.3d 27, 34-35 (2d Cir. 1995)).

               Third, a "mandatory" preliminary injunction that "alterfs] the status
               quo by commanding some positive act," as opposed to a
               "prohibitory" injunction seeking only to maintain the status quo,
               "should issue 'only upon a clear showing that the moving party is
               entitled to the relief requested, or where extreme or very serious
               damage will result from a denial of preliminary relief."' Tom
               Doherty Assocs.,60 F.3d at 34 (quoting Abdul Wali v. Coughlin,
               754F.2d 1015, 1025 (2dCit.l985)).
Citigroup Globat Mkts., Inc. v VCG Special Opportunities Master Fund, Ltd., 598 F3d 30, 35, n

4 (2d Cir 2010).

       See also, Upstate Jobs Party v   Kosinski,20l8 U.S. App. LEXIS 20197, at **2-3 (2d Cir.

Jul 20,2018). Plaintiffs seek to stay govemment action taken in the public interest pursuant to a

statutory or regulatory scheme. The challenged expansion of the DOE's Discovery Program and

revised eligibility criteria for that Program is clearly government action, and   it is taken in the

public intcrcst pursuant to a statutory scheme. The Hecht-Calandra Act, N.Y' Education Law            $


2590-h(lxb), incorporating N.Y. Educ. Law $ 2590-9(12), as in elfect ott March 29, 1997,

establishes the parameters    for admission to the Specialized High Schools.           Accordingly,

Plaintiffs must establishboth a likelihood of success on the merits and irreparable injury'

       Second. the requested injunction would provide Plaintiffs   with all the relief that they   seek


concerning the admission of students in September2Olg, and that relief could not be undone by

a judgment   for Defendants on the merits. The requested injunction would compel DOE to

reduce the size of the Discovery Program and use eligibility criteria that have been superseded,

with an anticipated loss of increased diversity in the Specialized High Schools for the 2019-2020

school year. Further, the hundreds of students who would be admitted under the current plan but

who will be denied admission under the requested injunction, will never have another chance to




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enter ninth grade at a Specialized High School. Accordingly, Plaintiffs must meet a heightened

substantial likelihood of success standard.

        Finally, Plaintiffs seek a mandatory preliminary injunction that alters the status quo by

commanding a positive act. The plan that is applicable to the admission process that is occurring

right now was publicly announced on June 3,2018. Staff, students and parents have              been

informed that the plan is in effect this year. The Discovery Program is being more than doubled

in size; there were 252     students in the Program last summer and there    will be room for 528

students this summer.

        DOE and the principals of the eight Specialized High Schools have engaged in extensive

discussions concerning accommodation of the expanded Discovery Program in the summer of

2019. The SHSAT cut-off scores are being calculated now based on this plan, and arrangements

are being made to provide the additional resources necessary for the expansion. Plaintiffs'

requested relief would reduce the size of the Discovery Program by more than half and cotnpel

DOE to reinstate eligibility criteria that were changed. This would result in the admission of

hundreds   of different   students than   will be admitted    under the current plan, diminish the

likelihood of increased diversity in the Specialized High Schools, require DOE to develop and

implement a new Discovery Program admissions process in a matter of weeks. The relief sought

would not maintain the status quo. Plaintiffs are seeking a mandatory injunction and therefore

are not entitled to an injunction unless they make "a clear showing"          of entitlernent to the

requested relief,   ol show extreme or very serious damage.

        To obtain a preliminary injunction. Plaintiffs rnust satisfy each prerequisite; here they

have not satisfied   any. First. as fully discussed in Point III below, Plaintiffs have not shown   a


clear likelihood, or even a heightened substantial likelihood, of success on the merits. Second,



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Plaintiffs have not demonstrated that they are likely to suffer irreparable injury in the absence of

injunctive relief. As fully discussed in Point I above, Plaintiffs lack standing because they have

not asserted an actual or imminent injury. Plaintiffs' alleged injury     -   that they are "being forced

to compete in a race-based system"   -   is non-existent, as the Discovery Program criteria are race-

neutral. See Pl. MOL 28. However, even       if   there were a possible injury, only one plaintiff, Mr.

Wong, has a child who is now competing for admission to the Specialized High Schools.

However, as discussed in Point    I above,   she is not affected by the challenged changes in the

Discovery Program and accordingly cannot be prejudiced by them. Plaintiff Wong will suffer no

irreparable injury.

        Third, the balance of the equities tips decidedly in favor of Defendants, as Plaintiffs are

guilty of laches for failing to bring the lawsuit sooner. The challenged plan was publicly

announced on June 3,2018. Plaintiffs waited over seven months to commence this action. They

then served this motion simultaneously with the summons and complaint, claiming urgency

because "the challenged plan   will impact admissions decisions which are imminent." (Pl. MOL

2.)   Plaintiffs then compounded the prejudicial effect of their delay by serving their summons

and complaint, together with the instant motion, on December 20,2018, one business day before

                                                            'I'he main office of DOE was only
the DOE began its winter recess, which lasts tbr nine days.

open for three days during this period, and most staff were on preplanned vacations for the entire

period. The conclusion that this timing was a deliberate tactic to prejudice Defendants in

opposing this motion is unavoidable.

        The equitable defense of laches is appropriately considered in the preliminary injunction

context. Bray v. Ciry of Neu, York, 346 F . Supp. 2d 480. 491-492 (S.D.N.Y. 2004). Laches "bars

injunctive relief where a plaintiff unreasonably delays        in   commencing an     action." Tri-Star


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Pictures, Inc.v.LeisureTimeProds.,B.V., 17F.3d38,44 (2dCir. 1994). Theguidingprinciple

is that "he who comes into equity must come with clean hands. " Hermes Int'l v. Lederer de

Paris Fifth Ave., Inc, 279 F.3d 104, 107 (2d Cir. 2002) (quoting Precision Instrument Mfg. Co.     v.


Automotive Maintenance Mach. Co.,324 U.S. 806 (1945)).

       In   Upstate Jobs Party, supra, 2018 U.S. App. LEXIS 20197,         at **5, the denial of   a


preliminary injunction was upheld, even though the Circuit found there were serious questions as

to possible constitutional violations, in part because plaintiff had unduly delayed bringing its

challenge until fourmonths before an election.    lnlrish Lesbian & Gay Org. v. Giuliani,918      F.


Supp. 732,748-749 (S.D.N.Y.1996), the plaintiff was found guilty of laches and a preliminary

injunction was denied because the plaintiff waited one month before bringing a lawsuit and

simultaneously seeking preliminary relief concerning an imminent event.

       Clearly Defendants have been prejudiced here, by having to prepare their opposition to a

constitutional challenge involving cornplex facts, in a period of time that was short to bcgin with,

and was effectively almost halved by Plaintiffs' service of their papers just before the winter

recess. Even more compelling is the prejudice to the 80,000 students and their families who are

eagerly awaiting DOE's high school admissions offers for fall 2019. The transmittal of these

offers has been voluntarily delayed by DOE for two weeks. to permit the Courl. to ltave adequate

time to decide this motion, which concerns admission to eight schools for which over 29,000

stlldents are competing. Although Plaintiffs clairn that the mere fact that they are alleging an

equal protection violation tips the "balance of the hardships" in their favor (Pl. MOL 28-29),

courts in the Second Circuit have not agreed. See lJp.stcrte Jobs Pcrrty, supra,2018 U.S. App.

LEXIS 20197, at *3 (equal protection and first amendment claims alleged.),' Irish Lesbian & Gay

Org., supra, 918 F.Supp. aI 735. 740, 742-747 (equal protection and first amendment claims



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alleged.) In summary, Plaintiffs have failed to satisfy any of the prerequisites for a preliminary

injunction and their motion should be denied.

                                                        POINT          III
                                 PLAINTIFFS CANNOT DEMONSTRATE
                                 LIKELIHOOD OF SUCCESS ON THB
                                 MERITS BECAUSE THE REVISBD
                                 CRITERIA FOR THE DISCOVERY
                                 PROGRAM DO NOT VIOLATE THE EQUAL
                                 PRr)TF"CTI ON CI,AII

            The central purpose         of the Equal Protection              Clause   "is to   prevent the States from

purposely discriminating between individuals on the basis of race." Shaw v. Reno,509 U.S. 630,

642 (1993). However, "[a] government action does not necessarily purposely discriminate

merely because          it is race-related." Doe v. Lower Merion              Sch. Dist., 665 F.3d 524, 543 (3d Cir.

2011) (citing Crawford               v. Bd. of     Educ., 458 US 527, 538 (1982)). Proof                   of   racially

discriminatory intent or purpose is required. Lov,er lulerion,665 F.3d aL 543.

            For at least the past decade, adrnission to the Specialized Iligh Schools has bccn

unattainable for a range of otherwise qualified students who fall short of the cut-off score on the

SHSAT, the examination constituting the primary basis of admission, as required by the Hecht-

Calandra Act. See Laws             of 1971,   chap. l'212.2 As a result. there has been a decrease in diversity


-    at least with respect to race. ethnicity. socioeconomic status and geographic distribution                    -       in

the Specialized High Schools' student bodies. For the r-rinth grade class entering in the fall of

2017, for example,50o/o of offers for seats at Specialized Fligh Schools were made to students at

onlv 30       -   or   4.60/o   - of DOE ir-rtermediate      schools.l DOE intermediate schools with a high


r Declaration of Thomas B. Roberts. swonr to January 11.2019 (hereafier, "Roberts Declaration"), Ex.                   I


tDOE Specialized High Schools Proposal. Muking Aclmission.s to the Specialized High Schools More
Equituble .fo, All Stuclents    httns://www.schooIs. nvc ()ov td ocs/defarr lt-sorrrce/d efarr It-docume 11t-
I   ibrarv/soecial ized-h i rrlr-schools-nrooosal. last accessed Jattua r "t, 17 . 2019


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proportion of disadvantaged students were even underrepresented in the Discovery Program a

program that was authorized for the specific purpose of giving opportunities to "disadvantaged

students of demonstrated high potential." See Laws        of   1911, chap. 1212. And for the ninth grade

class entering in the fall of 2018, although African-American and Latino students accounted for

approximalely 41o/o of SHSAT test-takers, they received approximately 9Yo                      of   offers to

Specialized High Schools.

         Although DOE recognizes that, with respect to some measures                -   national origin and

religion, for example   - the student bodies of the Specialized       High Schools are diverse, the lack

of diversity in other important    areas, including race, ethnicity and geography, is troubling. As

such, DOE reasonably exercised its discretion under the Hecht-Calandra Act to refine the criteria

for participation in the Discovery Program, such that only students attending an intermediate

school with an Economic Need Index ("ENI," see Wallack Declaration, at n                      2D of   60%o   ot

greater ("High ENI School") would be eligible. The purpose of such reltttetttettt is to exteud

enrollment opportunities     to the most     disadvantaged students      in the City, thereby         offering

admission to the Specialized High Schools to a broader and more diverse swath of students, and

ultimately, creating a more dynamic overall learning environment from which all students can

benefit. Because DOE's actions rationally relate to the legitimate              -   indeed compelling        -
governmental interest in encouraging diversity in secondary schools, Plaintiffs' claim under the

Eqr,ral Protection Clause   will fail,   and they cannot demonstrate a likelihood        of   success on the


lnents

A        The Discovery Program Eligibility Criteria Revisions Are Rationally Related to the
         Compelling Government Interest of Fostering f)iversity in Secondary Schools and
         Neither Result in a Disproportionate Impact Upon a Protected Class Nor Are
         Motivated by a Discriminatory Purpose




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          Plaintiffs allege that Defendants' plrryose in modifying the race-neutral criteria for

eligibility in the Discovery Program was "to limit the number of Asian-American students who

may attend" and to "achiev[e] their preferred racial balance" at the Specialized High Schools.

See   Pl. MOL 1. This allegation is wholly unsupported by the evidence, which instead
demonstrates that DOE's motivation was             to increase geographic, racial and             socioeconomic

diversity at these high schools.      If   the goal was to achieve racial balance, DOE has certainly

failed.

          In   essence, Plaintiffs ask the Court   to find that DOE's efforts to foster diversity           across

several dimensions using race-neutral factors constitute racial discrimination. Plaintiffs cite no

case that has made an analogous        ruling. Indeed,     if   a race-neutral measure taken to diversify a

particular population has the. effect of slightly decreasing the proportion of dominant groups, the

measure does not constitute unlawful discrimination. DOE's revision to the criteria for                 eligibility

in the Discovery        Program offers opportunities            to   disadvantaged studettts l]'ottt curreutly

underrepresented intermediate schools without regard                   to    race and serves the compelling

governmental interest      of promoting multi-dimensional diversity. Accordingly, DOE acted in

accord with the Equal Protection Clause.

          1.     Rational Basis Reviev,; DOE's Modifications to the Discovery Program Eligibilily
                 Criteria Are Rqtionally Related to the Compelling Government Inleresl in Fostering
                 Diversitv. and thus. Are Permis.s ible unc{er the Euual Protection Clause

          Absent a racially discriminatory purpose, explicit or inferable, on the part of DOE, the

revised criteria for the Discovery Program are subject to ratiorral basis review. See Pers. Adnt'r

o.l' Mas.;.     v. Feeney, 442 U.S. 256 (1979). Under rational basis review, the challenged
government action "must be upheld            if it is 'rationally          related   to a legitimate   government

interest."' Lou,er Merion,665 F.3d at 556 (citing City               r2f   Nev, Orlean.; v. Dukes, 427 US 297

(1976)). Rational basis review is "highly deferential" and will result in a holding of
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unconstitutionality "only in rare or exceptional circumstances." Spurlockv. Fox,7l6 F.3d 383,

403 (6th Cir. 2013).

         The rational basis test in this case is appropriate, as demonstrated by Hayden v. County       of

Nassau, 180 F.3d 42 (2d Cir. 1999). Plaintiffs seek to minimize Hayden, claiming that it

represents the narrow proposition that "a government does not intentionally discriminate against

non-minorities by attempting to reduce the disparate impact of an entrance exam in order to

remedy potential prior intentional discrimination."Pl. MOL 16. But Haydenhas been properly

construed more broadly. See Burbank v. Office of the AG,240 F. Supp. 2d 16l (D. Conn. 2003)

(citing Hayden for the Second Circuit's "clear" position that "the intent to remedy                  past


discrimination does not amount to a forbidden racial classification or an intent to discriminate

against non-minority candidates unless        it   involves quotas, set-asides, preferential grading, or

similar means that prevent non-minorities from competing for positions"). In fact, because the

defendant in Hayden established a facially race-neutral policy that was motivated in part by a

desire   to diminish impact on African-American             applicants, the Second Circuit rejected the

plaintiffs' argument that strict scrutiny applied. Id. at 48. The Second Circuit plainly stated that

the defendant's desire "to design an entrance exam which would diminish the adverse impact on

black applicants" did not constitute      a    racial classificatiot't. Id. at   48. Similarly, here, the

challenged Discovery Program criteria announced in June 2018 apply equally to                 all students

regardless of race or ethnicity and do not constitute a racial classification.

         Additionally, no court has found that race-neutral efforts to foster diversity constitute

racial discrimination, and the present facts and circumstances demonstrate that DOE did not act

fbr tlie plrrpose of hindering any racial group. Rather. DOE exercised its discretion to alter the




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eligibility criteria for the Discovery Program to ensure that the Specialized High Schools         are


accessible to qualified, disadvantaged students, thereby further diversifying their student bodies.

       Plaintiffs note that, under the criteria historically utilized by DOE to determine which

students are "disadvantaged"   -   including eligibility for free lunch, eligibility for reduced price

lunch and attendance at a Title     I   school, receipt of public assistance, residence in temporary

housing, or residence in United States for less four years and home language that is not English      -
numerous students throughout the City qualified for the Discovery Program, including many that

attend intermediate schools with an ENI lower Ihan 60Yo. Plaintiffs assert that, by adding the

requirement that students attend a High ENI School, DOE has impermissibly excluded some

disadvantaged students from the Discovery Program. But the Hecht-Calandra Act affords DOE

discretion to determine who is "disadvantaged" and thus eligible for the Discovery Program.

       Here, DOE has concluded that the use of the revised criteria to determine disadvantaged

status ensures that more of the most disadvantaged students gain adrrtissiott to the Specialized

Higlr Schools. For example, in 2077, approximately 70Yo of DOE students were eligible to

receive free lunch, which contributed to a large percentage of students potentially eligible for

Discovery.   At the same time, DOE has determined that the historical criteria, which         focused

exclusively on individual students' characteristics. do not encompass all factors relating to

economic need, and that the poverty level of a child's intermediate school classmates is a highly

relevant consideration. See Wallack Declaration aI          n 24. Accordingly, DOE       incorporated

interrnediate school ENI into the criteria for detennining disadvantaged status.

       DOE has concluded that lirniting eligibility to stlrdents who both attend a High ENI

School and meet the other criteria more accurately captures economic need, and       will result in the

incllsion in the Discovery Program of a greater proportion of the rnost disadvantaged students in



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the City. Additionally, this refinement       will lead to Specialized Fligh Schools with student bodies

of greater geographic and socioeconomic diversity, which may in turn increase racial diversity.

In short, DOE's refinement of the Discovery                    Program criteria advances the compelling

governmental interest in fostering diversity. Thus, Plaintiffs cannot demonstrate a likelihood        of

success on the merits.

       2.    Encouraging Geographic, Socioeconomic, Racial, and Ethnic Diversity in
             Secondarv Schools Is n Comnellins Government Interest

       In its landmark decision Brown v. Board of Education, the Supreme Court stated that the

provision   of public      "education   is   perhaps the most important function      of state and local

government..." and "the very foundation of good citizenship." 347 U.S.484, 493 (1954). Fifty

years later, the Supreme Court explained that elementary and secondary schools are "pivotal to

sustaining our political and cultural heritage." Grutter v. Bollinger,539 U.S. 306, 331 (2003)

(quoring Plyler v. Doe,457 U.S. 202,221(1982)). At these institutions, young people learn that

"our strength comes fiom people ot'ditt'erent races, creeds and cultures uniting in commitment to

the f.reedom of   all."   Parents Involved in Cnly. Sch. v. Seattle Sch. Dist. No. 1,551 U.S. 701,782

(2007) (Kennedy, J., concurring in part and concurring in the judgment).

       The Supreme Court most recently addressed the issue of racial diversity in secondary

sclrools in Parents Involved in Community Schools v. Seattle School Districl No. 1,551 U.S.701

(2007). In contrast to the instant matter, Parents Involved related to school district plans in

wl-rich an individual child's race was one          of the factors that    determined his or her school

assignment. The Court found that these race-based assigment plans warranted strict scrutiny.

How-ever, more relevant to the instant case, Justice Kennedy wrote separately to emphasize IhaI

the Court's 5-4 decision should not be read as prohibiting effbrts by local and state governments

to encourage diversity in public schools. As Justice Kennedy explained:


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                        In the administration of public schools by the state
                        and local authorities it is permissible to consider
                        the racial makeup of schools and to adopt
                        general policies to encourage a diverse student
                        body, one aspect of which is racial composition.
                        Cf. Grutter v. Bollinger,539 U.S. 306 (Kennedy, J.
                        dissenting). Ifschool authorities are concerned that
                        the student-body compositions of certain schools
                        interfere with the objective of offering an equal
                        educational opportunity to all of their students,
                        they are free to devise race-conscious measures to
                        address the problem in a general way and without
                        treating each student in a different fashion solely on
                        the basis of systematic, individual typing by race.

Parents Involved in Cmty. Sch., 551 U.S. at 788-89 (Kennedy, J., concuring                    in part and

concurring in the judgment) (emphasis added).

          As the narowest holding in the majority on a divided Court, Kennedy's opinion

controls.a Plaintiffs acknowledge the numerous decisions recognizing Kennedy's concurence as

binding per the Marlrs doctrine. See PL. Mem. 20. Plaintiffs erroneously assert, however, that

Jtrstice Kennecly's determination is not binding despite Marks because         it was not material to   the


result of the plurality opinion. Id.   at2l n.39. This contention is lacks all supporl,    as other courts


in the Second Circuit have repeatedly held that Justice Kennedy's opinion is controlling                and

follow his reasoning. Hart v. Cmty. Sch. 8d.,536 F. Supp. 2d274.282 (E.D.N.Y. 2008); G.M.M'

tt.   Kintpson 116 F. Supp. 3d126,154 (E.D.N.Y.2015);see            al.vo D.S. v. N.Y.C.   Dep't of Educ.,

255 F.R.D. 59, 64 (E.D.N.Y. 2008) (citing Grutter and Harr in approving a plan for diversity as

a conrpelling state interest); Unitecl States v. Alamance-Burlington Bd. of Educ.,640 F. Supp. 2d




'The     "'.rarrowest grounds" principle was set forth in Mark.s v. Unitecl Stutes,430 U.S. l88 (1977), and
reaffirmed in Gruuer v. Bollinger, 539 U.S. 306 (2003): "ln lMarks], we explained that'when a
fi'agnented CoLrrt decides a case and no single rationale explaining the result enjoys the asselrt of five
.lustices. the holding of the Court rnay be viewed as that position taken by those Mernbers who concurred
irr the jtrdgnrents olt the narrowest grounds."'Grutler,539 U.S. at325 (qtroting Mark.s,430 U.S. at193).


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670,683 n.5 (M.D.N .C.2009) ("[R]acial diversity remains a compelling government interest that

the School System may pursue.").

        Robust empirical evidence supports the cases holding that diversity           in primary and

secondary schools is a compelling state interest. Social science research has demonstrated that

attending a racially diverse high school is associated with higher levels of both mathematics and

reading ability.5 Additionally, diversity fosters livelier and better informed class discussions that

challenge all students to examine their own assumptions.6

        The positive effects of diversity extend beyond secondary school; studies have found that

attending a diverse high school is correlated with greater academic achievement in college. For

example, students who attend very diverse high schools have been found to have higher grade

point averages in their freshmanyear of college than students who attend high schools with low

levels of diversity.T

        Attending a diverse high school also promotes important non-academic outcomes. For

example, students who attend racially diverse high schools are more likely to work in diverse

settings later in 1ife.8 Adults of all racial and ethnic backgrounds who attended racially diverse



' Scc Mark Berends & Robefto V. Penaloza, Increasing Racial Isolcrtian and Te,sl 'Sc.rtre Gap,s in
Mtrthemcrtics; A Thirty Year Perspeclive, 112 Teachers College Record 918 (2010); Roslyn Arlin
Mickelson & Martha Bottia, Integrated Educatiott crncl Malhernatic.v Outcomes: A Synthesis of Social
Scicnce Research,88 Norlh Carolina Law Review 993 (2010); Shelly Brown-Jeffy, The Race Gap in
High School Reading Achieyentent. IVhy School Racial Compo.sitiott Still Matters, l3 Race, Gender &
Class 268 (2006).

t' ,tee
         A.S. Wells, Seeing Past the 'Colorblind' Mylh oJ Eclucertion Policy; Wthy Policymakers Shoulcl
Acltlre.;.s Racial/Ethnic Inequality and Support Cultr.n"ully Diverse Schools^ National Education Policy
Center (2014).
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 ^!ec Mo Yin S. Tanr & Gilben W. Bassett Jr., Does Diversity Matter?
                                                                        Meusru"ing the Impact of High
Sc'hool Diversity on Freshman GPA,32Policy StLrdies Journal 129 (2004).

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 See Elizabeth Stearns, Long-Ternt Coruelqles of High School Racial C'ontposition: Perpeluation Theory
Reexumined,ll2 Teachers College Record 1654 (2010).


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schools are more accepting of racially diverse neighbors and classmates for their childlen,e and

individuals who attend diverse high schools are more likely to feel comfortable debating social

and political issues with their pe"rs.'0

          In   short, school districts have a compelling interest             in   encouraging diversity. Here,

incorporating intermediate school ENI into the Discovery Program eligibility criteria was

intended to foster greater geographic and socioeconomic diversity                  -   and in turn, expand racial

and ethnic diversity. Such diversity leads             to more dynamic learning            environments for all

students. Because striving          for such environments in              secondary schools      is a legitimate
government interest, DOE's action should be upheld.

          3            ti

          Plaintiffs acknowledge that the challenged plan they contest is facially race-neutral,              see


Pl. MOL 10, but contend that            it is nonetheless       subject   to strict scrutiny   because DOE was

"rrrotivated by a racial purpose or objcct."          Id., citing lv[iller v. Johnson, 515 U'S. 900,913

(1995). Such assertion is baseless, as Plaintiffs provide no evidence demonstrating that the

challenged revisions were made             for the purpose of excluding Asian-Americans from                  the


Discovery Program. Plaintiffs rnisconstrue selective excerpts of pLrblic statelreltts by Mayor de Blasio

and Chancellor Carranza       is deuronstlating a racial motivation by DOE. .Sec Pl. MOL 7. Most egregiously,

Plaintiffs asseft that Chancellor Carranza's correct statelneltt that no "otre etlrnic group owns admissiolr"

to the Specialized High Schools dentonstrates a desire to "racially balatrce" the schools. This statement

was rrade in an 8-nrinute television interview in whiclr the Chancellor advocated for DOE's plan to


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 .!ec Srrsan E. Eaton, The Other Boston Busing Slory; Ilhat is Won qntl Lost Across the Boundary Line,
Neu'Haven, CT: Yale University Press (2001).
r0
                        & John T. Yun, Fifty Years A-fter Brov,tt; Nev'Evidence of the Impact of School
     Sea Michal Kurlaerrder
Rucitrl Compositioy on Sludent Outconte.s. 6 International Journal of Edtrcational Policy, Research &
Practice 5 I (2005).


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increase the geographic, racial and socioeconol.nic diversity          at the   Specialized   High Schools.   The

statement was made in response to a question regarding whether DOE was seeking to pit Ininority groups

against one another. The         full interview can be accessed at https://www.fox5ny.com/good-day/338399825-

video, and no fair-minded listener could detect any anti-Asian-Atnerican bias. If this is all Plaintiffs have

-   and   it is - they have nothing to support their sr.rit. In fact, as discussed at length in the Wallack

Declaration, DOE acted to foster diversity without any discriminatory intent.

                    i.         DOE's Challenged Discovery Program Criteria Will Not Have a Disparate
                               Imnact on Asian-A

              Moreover, Plaintiffs cannot demonstrate that the Discovery Program modifications will

result    in unconstitutional "disparate impact," which is a required element of any claim of
discr'iminatory pu{pose. Even when a plaintiff demonstrates a discriminatory intent on the part of

the government           -    which Plaintiffs have not done and cannot do here         - the plaintiff is also

reqnired "to show discriminatory impact in order to prove an equal protection violation." Lower

Merion,665 F.3d at 549 (quoting Palmer v. Thompson, 403 U.S. 217,224 (1971) ("lNlo case in

thc fSuprcme] Court has held that a legislative act may violate equal protection solely because of

the motivations of the men who voted for                  it."). In the context of cases claiming racial
discrirnination, plaintiffs "must show that similarly situated individuals of a different race were

treated differently." Lov,er Merion,665 F.3d at 550.

              Here. the Plaintiffs have failed to show that Asiari-Americans        will be advelsely affected

by the rnodifications to the eligibility criteria for the Discovery Program. For the vast majority of

seats allocated at the Specialized           High Schools for the 2019-2020 school year, approximately
          I                  will continue to be based solely on the SHSAT. Any student who        scores above
87o/o.t       admission

the cut-off score for the school she has ranked as her preferetrce. r'egardless of race, ethnicity,

" This percentage is planned to decrease to B0% it 2020-2021 ttnder Defettdants' proposed expansion            of
the Discovery Program, which has a two-year phase-itt.


                                                          aa
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economic background, geographic location within the City, and prirnary language,                will   gain

admission through this process. Meanwhile, for the remaining l3o/o of seats         -   those allocated to

students through the Discovery Program under the contested plan                -   student eligibility is

determined according to five factors: (i) SHSAT score, (ii) attendance at a High ENI school, (iii)

satisfaction of at least one other specified criteria related to the determination that the student is

disadvantaged,     (iv) recommendation by the student's intermediate school for the Specialized

High School program, and (v) willingness to participate in and successfully complete                    an


intensive summer school program. See, Declaration of Nadiya Chadha (hereinafter "Chadha

Decl.") at fl   ll.)   Any student, regardless of race, who meets these criteria could be eligible to

attend a Specialized High School via the Discovery Program. These criteria are applied to all

students who apply        to enroll at one of the Specialized High Schools. An Asian- American

student who attends a High ENI school and meets the Discovery Program's race-neutral criteria

will   be in the same position as an African-American or Latino studettt who satisfies such criteria.

As such, Plaintiffs cannot show that similarly situated students will be treated differently.

         Recognizing that Asian-American students are treated the same as similarly situated

students belonging to other racial or ethnic groups, Plaintiffs instead argue that the revised

criteria is intended to have, and will have, an adverse impact on the number of Asian-American

studerrts adntitted through Discovery. See Pl.     MOL, ar p.   6.   But there is no factual support for

this contention. Plaintiffs contend that limiting eligibility for Discovery to students attending

High ENI schools will have the effect of reducing the numbers of Asian-American                  students

aclmittecl to the specialized schools through Discovery. See Pl.     MOL 1 I ("[T]heir plan    targets the

particular schools that feed the most students-predominantly Asian-Americans-to the

Specialized High Schools").



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       In actuality, however, as explained at length in the Wallack Declaration at paragraphs 29,

31-33, neither plaintiffs nor DOE know how the revised criteria        will   impact the number of

Asian-American students who are eligible to participate in the Discovery Program for summer

2019 because eligibility depends on factors that are specific to particular students. There are

several factors beyond DOE's control that    will affect the racial and ethnic composition of the

students admitted through the challenged Discovery Program. Based on past experience, many

students who may qualify for the Discovery Program indicate that they are not interested in

receiving an offer, because the Discovery Program requires them to attend and successfully

complete an intensive summer school program. At this time, no one knows which students are

qualified for the Discovery Program or how many of them will be interested in participating in

the Discovery Program.

       Moreover, there are many Asian-American students in the intermediate schools with

ENls of 0.60 or greater. For the class admitted in the fall of 2018, of the students offeretl

admission to a Specialized High School from an intermediate school with an ENI of 0.60 or

greater, 70o/owere Asian-American, which constituted 1,060 Asian-American students. Chadha

Decl. fl 31. Accordingly, there is no basis for the Plaintiffs' assertion that the expansion of the

Discovery Program and the use of'the current criteria      will limit or reduce   the enrollment of

Asian-Arnerican students in the Specialized High Schools. We simply do not know.

       Analysis of the test-takers in High ENI Schools for the class adrnitted in the fall of 2018

also refr.rles Plaintiffs' argument that the DOE developed the revised criteria to fashion a pool of

Discovery eligible students that over-represents Af ican-Arnerican and Latino students and

under-represents Asian-American students.      In fact. of the roughly 16,000 students attending

I-ligh ENI Schools who took the SHSAT. Asian-American students made up roughly one third         of


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those students.        If   the revised criteria had been in effect, the percentage of Asian-American,

Afiican-American and Latino students eligible for the Discovery Program would have                been


similar   -    30% for Asian-American students, 27oh for African-American students, and 3lo/o fot

Latino students. Chadha Decl. fl 33.

          The modeling that DOE's Office of Student Enrollment performed in the spring of 2018

was a rough prediction, unlikely to definitively predict the future ethnic and racial composition

of the students enrolling in the           Specialized High Schools through the Discovery Program.

Indeed, there was - and is - significant uncertainty about the predictive accuracy of the modeling

because       it   necessarily employed assumptions that may not reflect     reality. Specifically,   the


modeling made the assumption that the students who are potentially eligible to participate in the

Discovery Program would respond to offers of admission to the Discovery Program the same

way as students offered admission to a Specialized High School based solely upon their SHSAT

score. The model did not account for the higher pet'cetttage of students eligible for the Discovcry

Program who would likely turn down offers because of the slllltrler school requirement. Nor did

the model attempt to predict whether certain groups of students would be more or less inclined to

participate in the Discovery Program and attend summer school.

          Although the modeling's predictive value was uncertain. it did suggest the possibility of

increasing racial and ethnic diversity at the Specialized High Schools. Moreover, the modeling

undermines the Plaintiffs' contention ihat DOE sought             to limit Asian-Amedcan enrollment.

DOE's April 2018 modeling suggested that for the class entering in the fall of 2020.when20Yo

of tlre enrollntent in the eight Specialized High Schools would be reserved for                students


participatilig in the Discovery Program, the racial and ethnic diversity of students enrolled in the

Specializecl High Schools might be somewhat increased.             in that the combined percentage of


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Afi'ican-Arnerican and Latino students in the eight schools might increase from approximately

9o/o   to 160/o. Chadha Decl. n 19 - 22.

          The model further suggested that      if   this occurred   it   would have limited impact upon

students    of    other ethnicities. Indeed,   it was projected that the                enrollment   of Asian-
                                                                               .total
American students in the eight Specialized High Schools would decline by approximately 2.1o4,

from     53%o Lo   5lo/r. The total enrollment of students whose race or ethnicity was unknown tb

DOE would decline by approximately 7.2oA, from 9Yo to 7.8Yo. And the total enrollment of

White students would decline by approximately 2.5oA, from 27.2Yo to 24.7Yo. Chadha Decl' fl

21.

          Far from seeking to limit the enrollment of Asian-American students, the modeling

predicted that the curuent criteria would result in limited impact upon the enrollment of other

groups, including Asian-Americans, while increasing diversity and providing all the students in

the Specialized High Schools the advantages of learning and socializing in a more diverse

student hody.

                  ii.    The Legislative History of the Hecht-Calandra Act Demonstrates that the
                         Intended Use of the Discovery Progrant Was to Provide an Alternate Means
                         OJA                    cial                    Dis

          In addition to impact, courts may examine other factors in evalLrating whether a lacially

race-neutral policy has a discriminatory purpose, including historical background and legislative

history relating to the policy. Vill. of Arlington Heights v. Metro. Hot't.;. Dev. Cot"p.,429 U.S.

252.266 (1977). Here, such factors weigh heavily in Defendants' favor.

          As explained in the Wallack Declaration. the Specialized High Schools have existed in

New York City for more than 100 years, providing rigorous instruction to academically gifted

students.    In    1971. New York enacted legislation to codify the requirernent that a scholastic

achievenrent examination be the main criterion for admission to the Specialized High Schools.

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The Hecht-Calandra Act expressly provided for a Discovery Program to assist disadvantaged

students     witli great academic potential.         See Laws     of   1971, chap. 1212.t2 The legislation codified

a program that had been operating in each of the Specialized High Schools, which provided

admission to students who were disadvantaged, scored only slightly below the cut-off score for

admission, were recommended by their intermediate schools as "having high potential" for the

Specialized High Schools, and attended and passed a summer preparatory program. See Mem. in

Supp. of S. Reprint30,052 Amending Assemb. B., A. 7005-A, at 2 (June 4,1971),reprinted in

Chapter l2l2BillJacket, at             8.13


           The   bill that initially advanced in the State legislature provided that the number of
students accepted through the Discovery Program would be limited                          to   14o/o   of all   admitted

students. See S.5668-4/4.7005-                A, 1971-1972 Ptegt;Jar Sessions, March 2, I97l at proposed
subdivision (d) of new subdivision 12 of section2590-gof the Education Law.ta Such limitation

was eliminated from the              bill that ultimately   passed, with the effect     of leaving the size of       Lhe


Discovery Program and the definition of "disadvantaged" to DOE's discretion.

                 iii.    Prior Race-Neutral Initiatives Designed to Foster Diversity at                              the
                         Specialized Hi sh Schools Have Been Unsuccessful

           As explained in more detail in the Wallack Declaration, enactment of the Hecht-Calandra

Act did not end the debate about the fairness of the heavy reliance on a single test for admission

ro rlre Specialized High Schools.               In   1977, the Office for      Civil Rights of the United         States


Department of Education ("OCR") began investigating whether the use a single test score as an




l2
      Roberts Declaration, Ex.   I


l't
      Roberts Declaration, Ex. 2

l1
      Roberts Declaration. Ex.   3



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admission standard constituted a form of discrimination against members of minority groups and

females.ls

       Decreasing admissions      of African-American students, as well as stagnated growh in

admissions of Latino students, led former Chancellor Joel Klein to create additional Specialized

High Schools in 2002, in an effort to expand opportunities for enrollment to minorities              and


increase overall student body diversity. Between the 2002-2003 and 2007-2008 school years,

DOE added a new testing high school in each borough.16

       DOE has engaged in other efforts to increase the number of offers extended to

underrepresented students. DOE has instituted City-wide extracurricular programs                to help

prepare disadvantaged students for the SHSAT. These programs include the Specialized High

School Institute ("SHSI") and its replacement program, Dream-SHSI            ("DREAM").'t In2076,

Defendants added the DREAM Intensive program, which runs during the summer and fall

immediately preceding administration of the SHSAT in the fall of eighth gracle.

        As detailed in the Wallack Declaration, DOE has also instituted programs to build

awareness of the Specialized High Schools, ease the burden of weekend testing, and increase



't,See Marcia   Chamhers, (/.,\. Inquiry Into Bias Is Opposed At Prestigiou.; New York Schools, N.Y.
TIMES, Novernber J,lgJ7, available at https://www.nytimes.corn/1977ll l/07/archives/Lrs-inquiry-into-
bias-is-opposed-at-prestigioLrs-new-)zork-schools-Lrs.html (last visited January 12.2019).

rt'The High School for Mathernatics, Science and Engineering at City College ("Math,        Science and
Engineerin-u"). the High School of American Studies at Lehnran College (''Americarr Studies"), and tlre
Queens High School for the Sciences at York College ("sciences at York") opened for the 2002-03
school year. Staten Island Techrrical High School ("Staten lsland Tech") becatle a testing school in2006-
2007. and Brooklyn Latin joined the group in 2007-2008'

't SHSI was an intensive l5-ntonth program that provided students with coursework in literature. writing,
matlrematics. and science, as well as groLrp guidance activities. SHSI began in June of the sixth-grade
year arrcl continued Lrntil October of eightlt grade, when students took the SHSAT. The structure of
DREAM is similar. except that stuclents-begin parlicipating in DREAM in tlte spring sernester of sixtlr
grade. The eligibilitv criteria for participation in SHSI and DREAM were race-neutral and related to a
student's socioecotrottlic status, academic achievement, and school attendance.


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intermediate school teachers' capacity      to prepare students for the SHSAT. In 2017, DOE

initiated school-day SHSATtesting at 15 schools serving students fi'om underrepresented groups,

aimed at easing the burden posed by weekend testing. This program was extended to an

additional 50 schools in2018, and expanded to include test preparation and family engagement

activities. DOE also launched a Capacity Building Initiative in spring 2018 to train intermediate

school teachers on the best practices to prepare their students for the SHSAT. Alongside these

initiatives, DOE took steps to invigorate the Discovery Program, which, by the early years of this

decade, was operating    in four of the Specialized High Schools. As of summer 2018, all testing

schools participated in Discovery.

       Notwithstanding all these efforts to promote diversity in the Specialized High Schools,

over the past fifteen years, the percentages of African-American and Latino students enrolled at

the Specialized High Schools have declined. See Specialized High Schools Demographics from

NYC Department of Education,7995-2015. During the                 same period, admission offers   for   the


Specialized High Schools have been concentrated among students attending a relatively small

group of intermediate schools, while there are hundreds of intermediate schools where no student

receives an offer. See DOE excel showing offers for fall 2017 by school.

       'l'he concentration    of   offers   to   certain intermediate schools parallels       a   similar

concentration in the geographic distribution of offers, with large sections of the City consisting

almost entirely of intermediate schools fi'om which no student receives an off-er to attend the

Specialized High Schools. For example, of the       l6l     intermediate schools in the Bronx, only 45   -
less tlran 30%   - had students that received an adrnission offer for fall 2017 to the Specialized

High Schools based upon individual SHSAT scores. Of the remaining 1 l6 Bronx inter'mediate




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schools that had no students receiving offers based on SHSAT scores, only 4 - approximately 3Yo

- had students that received offers through the Discovery Program. Chadha Decl. fl 29.

           In the f ace of the declining representation of African-American and Latino students in the

Specialized High Schools, and the uneven distribution of admissions offers across the City, the

NAACP Legal Defense and Education Fund, Inc., Latino Justice PRLDEF and the Center for

Law and Social Justice at Medgar Evers College filed a complaint in 2012 with OCR against

DOE, alleging that DOE's admission process for the Specialized High Schools violated Title VI

of the Civil Rights Act of 1964 because of the very low number of African-American and Latino

students who gained admission to these schools.ls OCR opened an investigation, has requested

and received from DOE numerous documents and has interviewed a number of witnesses. This

investigation is ongoing.

           The complaint primarily focuses on the adverse impact the SHSAT has on African-

American and Latino students.19 However', the contplaint also assefis that DOE's failure to

operate a robust Discovery Program, which is authorized by state law, and which may ameliorate

some of the adverse impact, may constitute disparate treatment                  -   i.e., intentional discrimination

against Alrican-American and Latino students. Four not-for-profit organizations representing




ts                          re The crclmissions proce.\s.for New York City's elite public highschools violates Title VI
     See ()ontplctint
oJ'the Cit,il Right.s Act of 1961 and its intplementing regulaliors, Septernber 2J.2012, available at
tlrtto ://r,r'r'r u'. n aacp d f.
                        I      I     fi es/case i ssue/Soec ia lizedYo2jHi sho62}S ools%o?0Conr nla int.odf        (last
visited. Januar.v.' 12.2019): .see a/so Roberts Declaration, Ex. 4.

'o Tlre corrplaint asserls that DOE had failed      to have an analysis perforrned to detennine if the SHSAT
has predictive     validity. While tlrat was true in 2012, a predictive validity study was performed in20l3,
covering the rrost recerrt five-year period for wlrich data was available. The analysis showed that the
SHSAT dicl have predictive validity when rrreasured against student performattceirr the flrst two years of
high school.


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Asian-American communities submitted statements supporting the complaint's contentions and

advocating for measures to foster greater diversity at the Specialized High Schools.20

        Against this historical backdrop, and with the goal of taking steps that would enhance

racial, ethnic, geographic, and socioeconomic diversity in the Specialized High Schools, DOE

exercised its discretion to adjust the current Discovery Program eligibility criteria for the exact

purpose that such discretion was intended       -    i.e., to ensure that disadvantaged students could

enroll in the Specialized High Schools. DOE has determined that including attendance at a High

ENI School    as a   criterion for determining disadvantaged status serves to more precisely identify

disadvantaged students       in the City for    participation    in the Discovery Program.          Such

determination is lawful and within DOE's discretion.

        4.     The Challenged Discovery Program Eligibility Criteria Do Not Rely Upon
               Individual Racial Class ificotions and Are Not Subiect to Strict Scrut tnl)

        The challenged criteria are race-neutral, but DOE does not contend that it was unaware

that the modifications to the criteria could increase the rauial or etlutic tlivelsity of             the

Specialized High Schools. To the contrary, DOE's purpose was to foster diversity, including

racial and ethnic diversity.

        DOE's challenged criteria quite clearly fall within the types of policies that Justice

Kennedy declared permissible in Parents Involved. DOE was aware that restricting eligibility to

students attending a High ENI School might have a lirnited effect on the demographic diversity

20
  Statement on U.S. Depurtment of Education Office of Civil Rights Complttirrt d'the NYC Coulitionfor
Ecluccrtioncrl ,lustice. et ul. Regarding New York City Specialized lligh Schottls. CAAAV Organizing
Asian Commurrities. September 27,2012 Asian American Amicu.s              in   Support oJ Aclminislralive
Contplcrirtt h), the NAACP Legat Defen.se ancl Eclucalional Fund. National Asian Alrerican Coalitiotl,
October 10.2012: Sttrtement on (J.5. Deportntent oJ'Ecluccttion Offce of C'ivil Rights Complaint oJ'the
NYC Cotrtition ./br Ec{ucutional .Iestice, et al. Regarding Nev, York City Speciulizecl High Schools, The
Coalition for Asian Anrerican Children and Farnilies Stalemenl on U.S. Departntenl of Education Office
of Cittil Right.s Complaint of the NYC Coalition Jbr Educational .Iustice, et ul. Regarding Neu, York City
Speciolizecl High Schoolr. Asian American Legal Defense and Educatiotr Fund (AALDEF), see Roberts
Declalatiorr. Exs. 5-8.


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of the Specialized l{igh Schools. But this criterion is school-based, not based on the race of any

individual student, and comparable to "drawing attendance zones with general recognition of the

demographics     of   neighborhoods," which Justice Kennedy noted would be constitutionally

permissible. Parents Involved,551 U.S. at 789.

B       Assuming Arguendo that Strict Scrutiny Applies, DOE's Modification to the
        Discovery Program Eligibility Criteria Was Narrowly Tailored to Achieve
                                                                                      ^
        Compelling Government Interest Because Other Race-Neutral Alternatives Did not
        Suffice, the Modification Did Not Result in an Undue Burden on Other Students,
        and DOE Will Monitor and Adjust the Modifications as Appropriate and Necessary

        Governmental actions or policies subject to strict scrutiny        will   be found constitutional    if
they are narrowly tailored to further compelling governmental interests. Grutter, 539 U.S. at

327. Because the modifications to the Discovery Program satisfy this standard, even if the Court

determines that strict scrutiny applies, Plaintiffs' claim under the Equal Protection Clause of the

Fourteenth Amendment will not prevail.

        1.     Fosterins Diversitv Is a Comncllins Government Interest

        As explained above, diversity in primary and secondary education is a vital goal which

state and local governments should strive to cultivate. Recognizing the value of diversity in

elementary and secondary schools, federal courts have deemed fostering diversity                    in   such


schools to be a cornpelling governmental interest. See, e.g., Pctrents'lnt,olt'et{. 551 U,S. atJ83,

797 (Kent'tedy. J.. concurring    in part and concurring in the judgnie nt); it|. aI 838-42 (Breyer,        J.,


disser-rting). And at the time the challenged criteria were adopted" the guidance fr'orn the Justice

Departrnent expressly authorized steps parallel to those challenged herein.2l



tt Guidunce on the l/oltntury Use of Race to Achieve Diver.siDt und Avoiel Rcrciul Lsolutiort in Elementaty
ancl Seconclcrn; School,, USDOJ Civil Rights Divisiou, USDOE Office for Civil Rights,2011. See
Roberts Declaration. Ex.9. While the Justice Depaftntent withdrew this GLridarrce on July 3,2018, it
offered rro legal explanation for its action. IVithclrcrtvn Affirmative Acliort Guiclance. USDOJ Civil Rights
Divisiorr, USDOE Ofllce for Civil Rights. jLrly 3. 2018, see Roberts Declaration. Ex. 10.


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        Here. DOE confronted a disturbing trend in the Specialized High Schools of the isolation

and exclusion of African-American and Latino students. Increasing diversity in these areas

benefits all the students at these schools, as such students enjoy the advantages provided by a

greater range of voices and views. Given these circumstances, DOE had a compelling interest in

using all available tools to encourage diversity in the Specialized High Schools.

        2.     The   Modifications Were Narrowbt Tailored

        To possibly address this challenge, DOE modified the Discovery Program eligibility

criteria. Such modification is narrowly tailored. In evaluating whether a government policy is

narrowly tailored, courts assess a variety of factors,2' one of which is whether the decision-

making body considered workable race-neutral alternatives prior to adoption of the challenged

policy. Fisher v. (Jniv. of Tex., 136 S. Ct. 2198,2208 (2016). The government is not required to

"exhaust every conceivable race-neutral alternative";       it   need only demonstrate that race-neutral

alternatives do not suffice to achieve the compelling intercst. Id.; Grutter, 539 U.S. at 339.

        Here, the modification      to the Discovery Program eligibility criteria is          race-neutral.

However, in its effbrts to diversify the Specialized High Schools, DOE has attempted other race-

neutral alternatives. outlined above and in the Wallack Declaration, fl.]J 11-15. Though the

ultimate goal of these programs was to increase diversity uf the studertt bodies at the Specialized

High Schools. they have not achieved that goal. The challenged program is merely the latest

race-neutral effbrt   to diversify. No one can pledict the precise effect it w'ill have on              the

composition of the Specialized High Schools.



tt The Suprente Court    has never adopted a fornrulaic test for determirting whetlter an allegedly racially
discriminatory policy is narrowly tailored. Moreover, neither tlte Suprenre Court nor the Second Circuit
lrave endorsed the so-called "Paradise factors," which sotne other CircLrits have adopted and whiclt
Plaintiffs rely upon in their merlorandum of law. However, sotne of tl"te "Parudi.se factors" largely
overlap witlr considerations relevant to the narrowly tailored inquiry.


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          In addition to   race-neutral alternatives, a govetnment plan purportedly favoring one

group of students is narrowly tailored   if it does not place   an undue burden upon students that are

non-members of the favored group. Grutter,539 U.S.              at 34L   There is no evidence that the

Discovery Program      will unduly burden any groups,           and as demonstrated   in the Wallack
Declaration, the modeling suggested that any impact upon Asian-American enrollment would be

slight.

          Finally, policies narowly tailored to achieve a compelling interest should be limited in

time and subject to periodic review. Grutter,539 U.S. at342. Though no formal expiration date

for the modifications to the Discovery Program eligibility criteria has been set, DOE continually

re-evaluates its procedures. Such practice   will apply here,    as DOE monitors the effectiveness   of

the modifications on Specialized High School enrollment and adjusts the criteria as appropriate,

depending on their success or failure at fostering diversity.

          In short, even if strict scrutiny applies - which it does not - DOE's revisions to the

Discovery Program eligibility requirements are narrowly tailored and are constitutional.




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                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs' motion for a preliminary

injunction and grant such other and further relief   as   to the Court may seem just and proper.

Dated:         New York, New York
               January 17,2019

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